Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 1 of 17 PageID# 7135



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA

               v.

 PAUL J. MANAFORT, JR.,                             Crim. No. 1:18-cr-83 (TSE)


                               Defendant.



            THE GOVERNMENT’S SENTENCING REPLY MEMORANDUM

        The United States of America, by and through Special Counsel Robert S. Mueller, III,

files this reply to defendant Paul J. Manafort, Jr.’s sentencing memorandum. Def. Sen. Mem.,

Doc. 317. The government principally addresses the following issues: (A) acceptance of

responsibility; (B) alleged cooperation; (C) health and age; and (D) recidivism. In sections E

and F, the government addresses the defendant’s Sentencing Guidelines objections and

arguments regarding a disparate sentence.

   A.      Acceptance of Responsibility

        As the Court is aware, the defendant exercised his constitutional right to trial in this

matter and contested the facts and his guilt. That alone undermines any reduction for acceptance

of responsibility. See United States v. Redding, 422 F. App’x 192, 195 (4th Cir. 2011)

(unpublished). And, although Manafort subsequently pleaded guilty in the District of Columbia

prosecution, he has since breached his plea agreement by making false statements to the

government and the grand jury. See Order, United States v. Manafort, No. 17-cr-201 (ABJ)

(D.D.C. Feb. 13, 2019), Doc. 509 (“D.C. February 13 Order”) (finding by a preponderance that

the defendant breached his cooperation agreement and that he lied intentionally as to three
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 2 of 17 PageID# 7136



subject areas and not two others). The Fourth Circuit has held that in assessing acceptance of

responsibility, a court may consider the defendant’s post-arrest or post-plea conduct. See United

States v. Dugger, 485 F.3d 236, 240 (4th Cir. 2007) (defendant’s involvement in additional

criminal activity after his arrest and plea justified denial of reduction for acceptance of

responsibility).

       Additionally, the defendant’s brief is replete with claims that are at odds with acceptance

of responsibility. The defendant blames everyone from the Special Counsel’s Office to his

Ukrainian clients for his own criminal choices. 1 Manafort suggests, for example, that but for the

appointment of the Special Counsel’s Office, he would not have been charged in connection with

hiding more than $55 million abroad, failing to pay more than $6 million in taxes, and

defrauding three financial institutions of more than $25 million dollars. In addition to a lack of

remorse, Manafort has his facts wrong: he was being investigated by prosecutors in this district

and the Criminal Division of the Department of Justice prior to the May 2017 appointment of the

Special Counsel. See May 4, 2018 Motion Hearing Transcript, at 4. 2 Manafort contends that as

a “mitigating factor,” the Court should consider that Manafort initially opened foreign accounts

“at the behest of [his] foreign clients,” (see Doc. 317 at 29-30), but there is no evidence that any

foreign client told Manafort not to report those accounts on his tax returns, not to file FBARs

with the U.S. Treasury Department, or not to pay millions of dollars in taxes. And even if a


       1
         For example, Manafort notes: ‘The cases that Special Counsel have brought against Mr.
Manafort have devastated him personally, professionally, and financially. The charges and
associated publicity have brought intense, negative media coverage and scrutiny, have destroyed
his career, and have resulted in financial hardship for Mr. Manafort and his family.” See Doc. 317
at 4. But it is Manafort’s own criminal actions that have led to these consequences; it cannot be
blamed on the government or a jury’s holding him responsible for his crimes.
       2
         Manafort also seems to contend that because he was not charged with additional offenses,
that mitigates his crimes of tax fraud, bank fraud and failing to file FBARs involving millions of
dollars. Doc. 317 at 15-16. It does not.
                                                  2
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 3 of 17 PageID# 7137



foreign client had made those requests that would not present any defense to, or mitigation of, his

crimes. It is Manafort who, after opening accounts in Cyprus, opened numerous new foreign

accounts, including in other foreign countries. Those choices were his own and his efforts at

misdirection are further proof that he has not accepted responsibility for his criminal conduct.

       Manafort’s claim that he disclosed his foreign accounts to the FBI misrepresents the facts

and is no substitute for failing to report timely these accounts to the Treasury Department as

required by law. Manafort only belatedly disclosed some, not all, of these accounts at his 2014

FBI interview, and at a time after many of those accounts were closed. See Trial Tr., at 1246. At

no point in that 2014 FBI interview did Manafort acknowledge the more than 30 overseas

accounts that he controlled in three countries, or the more than $55 million that passed through

those accounts. Prior to his interview, Manafort also sought to cover his tracks. As Rick Gates

testified, before that interview with the FBI, Manafort directed Gates to alert one of the

Ukrainians who paid Manafort of the FBI investigation and find out more about the accounts

used to pay him. Trial Tr., at 1247.

       Manafort also blames the government for his difficulties with the banks he defrauded,

noting, “all of the loans at issue in this case were performing under the terms of the relevant loan

agreements until the Special Counsel’s Office initiated the prosecution of Mr. Manafort and

brought forfeiture allegations, which resulted in over $2 million in cash being frozen.” Doc. 317

at 23-24 (emphasis in original). Manafort presents only some of the relevant facts. He fails, for

example, to acknowledge that he had ample assets to repay the banks (and chose not to),

including property that he could have sold. Further, the defendant had issues with bank

repayments, notwithstanding his available assets, long before he was indicted. Notably, Genesis

Capital brought suit against Manafort in September 2016 to secure payment on a prior loan for



                                                 3
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 4 of 17 PageID# 7138



the Union Street property (the very loan Manafort hid from other banks). See Government

Exhibit 500 (stipulation regarding Genesis Capital)(“On or about September 20, 2016, Genesis

Capital Master Fund II, LLC, filed a Summons and Verified Complaint in the Supreme Court of

The State of New York, County of Kings, against MC Brooklyn Holdings, LLC, Paul

Manafort….. Judicial proceedings were initiated as a result of a lack of payment on the

$3,897,468.00 mortgage beginning on or about April 1, 2016”).

        Finally, Manafort seeks leniency for having to forfeit the vast majority of “his” assets

earned over a lifetime, Doc. 317 at 6, without any recognition that he profited handsomely from

those crimes over that same lifetime or that the property was not “his” if obtained through

criminal activity. And neither the Court, nor the government, can be sure of the full extent of

Manafort’s assets because he has failed to submit a financial statement to either this Court or the

Court in District of Columbia—yet another example that he has failed to accept responsibility in

a prosecution where he was convicted of hiding assets. Further, unlike most defendants who

appear in tax cases, Manafort has not paid any restitution to the Treasury Department and still

owes more than $6 million.

        Manafort’s effort to shift the blame to others—as he did at trial—is not consistent with

acceptance of responsibility or a mitigating factor. Manafort has failed to accept that he is

responsible for the criminal choices that bring him to this Court for sentencing.

   B.      Alleged Cooperation

        The defendant asserts on several occasions that he “cooperated” with the Special

Counsel’s Office and that he testified before the grand jury. See Doc. 317 at 3. Manafort,

however, violated his cooperation agreement with the government by lying about several topics

to the government and the grand jury, as has been found by the District of Columbia District



                                                 4
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 5 of 17 PageID# 7139



Court. And he has conceded that the government was within its rights to find him in breach. See

D.C. February 13 Order. Accordingly, the government opposes any credit or mitigation for the

alleged cooperation, and contends that consideration of his lies to the government and grand jury

are aggravating factors and an additional basis for the denial of any reduction for acceptance of

responsibility.

       Any departure based on substantial assistance to authorities under § 5K requires a

government motion. U.S.S.G. § 5K1.1; see Melendez v. United States, 518 U.S. 120, 131

(1996); United States v. Hernandez, 587 F. App’x 76, 77 (4th Cir. 2014) (per curiam)

(unpublished); United States v. Fernandez, 127 F.3d 277, 286 (2d Cir. 1997) (where a

cooperation agreement required the defendant to be truthful, his subsequent lying to the

government constitutes a breach of the agreement, allowing the government to refrain from

making a § 5K1.1 motion). Even where the government has so moved, the extent of any

reduction by the district court depends in part on “the truthfulness, completeness, and reliability

of any information or testimony provided by the defendant,” U.S.S.G. § 5K1.1(a)(2). And

“[s]ubstantial weight should be given to the government’s evaluation of the extent of the

defendant’s assistance.” U.S.S.G. § 5K1.1, cmt. n. 3. Here, a court has already found Manafort

lied to the government and the grand jury. That is not a basis for a lower sentence, but rather a

more severe one. See United States v. Swanson, 284 F. App’x 365, 368 (7th Cir. 2008)

(unpublished order) (“Swanson cooperated only partially at time ‘t,’ and then promptly

obstructed justice attempting to reduce his criminal liability at time ‘t+1.’ The district court

committed no clear error in deciding that Swanson’s initial cooperation and timely guilty plea

did not combine to overcome his intervening obstruction of justice.”); United States v. Perez-

Mendez, 162 F. App’x 207, 209 (4th Cir. 2006) (per curiam) (unpublished) (“the Government



                                                  5
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 6 of 17 PageID# 7140



declined to file the motion—and indeed declined to seek assistance from Perez-Mendez—after it

discovered that Perez-Mendez had provided false information to the court and to the presentence

investigator”); cf. United States v. David, 58 F.3d 113, 114 (4th Cir. 1995) (upholding

government’s refusal to make § 5K1.1 motion where defendant had provided substantial

assistance and then jumped bail prior to sentencing).

   C.      Recidivism

        The defendant argues that he presents “no risk of recidivism . . .given the harsh lesson

[he] has already learned, especially in light of his age.” Doc. 317 at 24. There is no reason to

believe this is so, and Manafort cites no evidence. Nowhere does the defendant address the fact

that after he was indicted in two districts for crimes spanning a decade, including crimes through

2017, he committed the additional crimes in 2018 of tampering with witnesses while on bail

from both courts. See Plea Agreement, United States v. Manafort, No. 17-cr-201 (ABJ) (D.D.C.

Sept. 14, 2018) Doc. 422 (“D.C. Plea Agreement”); Statement of the Offenses and Other Acts,

United States v. Manafort, No. 17-cr-201 (ABJ) (D.D.C. Sept. 14, 2018) Doc. 423 (“D.C.

Statement of the Offenses and Other Acts”) (Attached as Exhibit D to initial filing). Manafort

also lied to the government and the grand jury, in material ways, as recently as October 2018.

Such actions are inconsistent with learning any positive lesson from his criminal conduct and

proof that the defendant poses a serious risk of recidivism.

        In support of his claim that the defendant poses no risk of recidivism, he cites to a series

of studies unrelated to his own situation, as well as United States v. Smith, 275 F. App’x 184,

187 (4th Cir. 2008). That case is easily distinguished, in part because there was no evidence that

the defendant engaged in criminal activity after his indictment. Further, in support of a

downward departure, the district court in Smith noted a series of factors, including that the



                                                  6
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 7 of 17 PageID# 7141



defendant had “avoided violations of the law up until this point in his life.” Id. at 186 (internal

quotation marks omitted). Manafort cannot make that claim.

   D.      The Defendant’s Health and Age

        Manafort argues that his health and age merit a departure or variance from the guidelines.

Manafort notes that since his incarceration he suffers from gout and has been prescribed a

number of prescription drugs. Section 5H1.4 of the Guidelines Manual states that “[a]n

extraordinary physical impairment may be a reason to depart downward” from the advisory

guidelines. Manafort can and should receive proper medical care while he is incarcerated. But

none of Manafort’s reported conditions warrants a variance or departure. First, where the Bureau

of Prisons (“BOP”) has the ability to provide medical treatment for the defendant's condition,

departure under § 5H1.4 is generally not appropriate. See United States v. Persico, 164 F.3d

796, 806 (2d Cir. 1999) (a § 5H1.4 departure requires medical conditions that BOP is unable to

accommodate); United States v. Greenwood, 928 F.2d 645 (4th Cir. 1991) (departure appropriate

where incarceration would jeopardize treatment); United States v. Carey, 895 F.2d 318 (7th Cir.

1990) (cancer, without more, is not an extraordinary physical impairment).

        Putting aside the defendant’s request for this Court to rely on a news article for the

proposition that Manafort is in “danger of losing his life,” see Doc. 317 at 20, Manafort has not

submitted a report from a medical practitioner or shown that the BOP is unable to treat his

medical conditions. To the contrary, during his nine-month incarceration the Alexandria

Detention Center has appropriately addressed the defendant’s medical needs. See PSR ¶¶ 119-

123. Manafort has failed to establish that he has not received proper medical care and attention,

and none of his prescribed treatments or medications indicates that his life is in any danger from

a long period of incarceration.



                                                  7
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 8 of 17 PageID# 7142



       This Court’s opinion in United States. v. Depew, 751 F. Supp. 1195 (E.D. Va. 1990)

(Ellis, J.) is instructive. In Depew, the defendant argued his physical condition, AIDS, warranted

a downward departure from his guidelines calculation. As this Court has correctly noted, even

“terminally ill persons who commit serious crimes may not use their affliction to escape prison”

because “otherwise, the law’s deterrent effect would be unreasonably and unnecessarily

diminished in the case of terminally ill persons.” Id. at 1199. This Court explained that the

“Bureau of Prisons, at FCI Butner and elsewhere, has the medical personnel and facilities

required to furnish defendant with the care and treatment he needs.” Id. The Court concluded,

“defendant’s physical condition, while lamentable, is no basis for a departure.” Id. The same

principle applies here.

      Third, the government notes that Manafort raised health issues as relevant to the

determination of whether he intentionally lied to the government and the grand jury. Judge

Jackson rejected his argument and made the following finding:

       I also found the defendant’s statements in his submission concerning his health to
       be particularly conclusory. In his response to the allegations, the defendant
       specifically asked me to consider the defendant's health issues exacerbated by the
       conditions of confinement, quote, in particular, solitary confinement, close quote,
       as a reason why I should find that the inaccuracies were not intentional. But the
       submission did not include any chronology, any medical or mental health
       information, any information about the details of his custodial situation, or any
       information concerning the state of his health on any of the dates in question. In
       short, it gave me no basis upon which I could find that it would be a mitigating
       factor. So I gave the defense an opportunity to elaborate at the hearing. And when
       I asked questions and at that point it all evaporated and counsel had little or nothing
       to say, other than, It's been shown, One sees an impact, and there really wasn’t any
       specificity there. And it left the impression that the issue was left in the pleading
       for public consumption, but not mine.




                                                 8
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 9 of 17 PageID# 7143



Transcript, United States v. Manafort, No. 17-cr-201 (ABJ) (D.D.C. Feb. 13, 2019), at 10-

11. 3

    E.         The Defendant’s Guidelines Objections

         Having addressed the defendant’s principal objections to the Probation Office’s

guidelines calculations in its sentencing memorandum, the government responds briefly here to

the guidelines arguments in the defendant’s sentencing submission.

                   1. Use of § 2S1.3 to Determine Offense Level

         The defendant does not dispute that under the plain terms of the guidelines and the relevant

application note to the guideline governing his FBAR conviction, § 2S1.3 should be used to

calculate the offense level for his Group 1 convictions. Rather, he makes an “historical” argument

contending that the tax guidelines should be used here because they were used in sentencing other

defendants prior to the Department of Justice revising its position. See Doc. 317 at 26, He also

contends that because tax charges were included in the initial District of Columbia indictment

returned in October 2017, before the Tax Division changed its position, the government in essence

should be estopped.

         Those arguments lack merit. The defendant’s reference to his October 2017 indictment

in the District of Columbia overlooks that the operative indictment in this case (and this District)

was returned in February 2018, after the Department had announced its position on sentencing

calculations in tax and FBAR cases, and after Manafort declined to waive venue so that all

charges could proceed in the District of Columbia. Moreover, in arguing for use of the tax

guidelines, the defendant does not address the fact that he used the unreported overseas accounts




         3
             The government submits that this finding is persuasive authority, but not binding on this Court.


                                                        9
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 10 of 17 PageID# 7144



not just to further tax offenses (as in the example that he cites, Doc. 317 at 27), but also to

perpetrate the money laundering conspiracy to which he pled guilty in the District of

Columbia—an offense that itself involved promoting a violation of FARA. For those reasons

and those set forth in the government’s sentencing submission, see Gov’t Sent. Mem. at 10-13,

the Probation Office correctly calculated the advisory guidelines range pursuant to § 2S1.3 See

Doc. 317 at 29-30. 4

       Further, even if the tax guidelines were applied, the total offense level would be at least 30

(and not 24 as the defendant alleges). As an initial matter, the tax loss relating to the $15 million

in income hidden in the overseas accounts would be greater than $3.5 million (for a base offense

level of 24 pursuant to § 2T4.1(J)) with enhancements of two levels pursuant to § 2T1.1(b)(2)

(sophisticated means) and a four level role enhancement pursuant to § 3B1.1(a).

       The § 2T1.1(b)(2) enhancement for “sophisticated means” “does not require a brilliant

scheme, just one that displays a greater level of planning or concealment than the usual tax evasion

case.” United States v. O'Doherty, 643 F.3d 209, 220 (7th Cir. 2011) (internal quotation marks

omitted). The application note says it “means especially complex or especially intricate offense

conduct pertaining to the execution or concealment of an offense.” U.S.S.G. § 2T1.1, cmt. n. 5.

Examples include “hiding assets or transactions, or both, through the use of fictitious entities,




       4
          The defendant also complains about the “draconian advisory Guidelines,” referencing
United States v. Adelson, 441 F. Supp 2d 506, 512 (S.D.N.Y. 2006), in which Judge Rakoff
criticized the Sentencing Guidelines as rigidly attached to certain facts—like fraud loss or the
weight of drugs. Doc. 317 at 6. The facts before Judge Rakoff were far different than those here,
even if the Court were to agree with Judge Rakoff. Adelson was charged with the full loss resulting
from an accounting fraud, when he joined late in the conspiracy and the loss was based on the loss
to shareholders as dictated by the market and which may have been caused by a variety of factors.
The facts here are easily distinguished; the fraud guidelines at issue related to the particular amount
of money that Manafort hid in foreign accounts, not someone else, and not affected in any way by
the market.
                                                  10
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 11 of 17 PageID# 7145



corporate shells, or offshore financial accounts ordinarily indicates sophisticated means.” Id. But

the enhancement “properly applies to conduct less sophisticated than the list articulated in the

application note." United States v. Jennings, 711 F.3d 1144, 1147 (9th Cir. 2013). The “essence”

some courts have said, “is merely deliberate steps taken to make the offense difficult to detect."

O'Doherty, 643 F.3d at 220 (ellipses and internal quotation marks omitted).

       Manafort’s tax scheme involved hidden assets in more than 30 overseas accounts, with

more than a dozen related entities, in three countries. These entities had corporate structures that

concealed the identity of the true owner, Manafort, and which existed only to open bank accounts.

Manafort deceived both his bookkeepers and his tax preparers with respect to these accounts (and

the banks to which he applied for loans). He not only took deliberate steps to make the offense

difficult to detect, he succeeded in doing so over an extended period of time.

       Finally, courts regularly apply role enhancements in tax cases. See, e.g., United States v.

Thorson, 633 F.3d 312, 317-318 (4th Cir. 2011); United States v. Perrin, 237 Fed. Appx. 899, 900-

01 (4th Cir. 2007) (per curiam). As noted above, Manafort involved both witting and unwitting

participants in the scheme, from his coconspirator Rick Gates, and in the Ukraine, Konstantin

Kilimnik, to his bookkeepers and tax preparers as well those who managed his accounts abroad at

Dr. Kyphos Chrysostomides’ firm (as reflected in Government Exhibits 63 and 73B).

               2. Role Enhancement

       The defendant challenges the assessment of a four level enhancement under § 3B1.1 for

his leadership role in the offenses. He argues principally that § 3B1.1(a) applies only “to leaders

or managers of organizations that have a primary purpose of engaging in crime, such as foreign

cartels that smuggle narcotics into the United States, or motorcycle gangs that unlawfully

transport and distribute firearms.” Doc. 317 at 33-34. The defendant bases that contention on



                                                11
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 12 of 17 PageID# 7146



references in the guidelines’ background note to “a criminal organization” or “criminal

enterprise[,]” terms that are not found in the text of § 3B1.1 itself. On the contrary, § 3B1.1

applies “[i]f the defendant was an organizer or leader of a criminal activity,” § 3B1.1(a)

(emphasis added), and does not require that the defendant have headed an “organization” or

“enterprise” designed solely or even “primar[ily]” to carry out crimes.

        The defendant identifies no case that endorses his interpretation of § 3B1.1. See Gov’t

Sent. Mem. at 15 n.23. Rather, courts have long held “that the owner of a legitimate business

who actively participates in criminal activity through the business may be eligible for an

aggravating role adjustment.” United States v. Burgos, 324 F.3d 88, 93 (2d Cir. 2003). Thus,

courts have applied the enhancement to the owner of a car dealership whose salesman helped

drug dealers launder money by selling them cars for cash, United States v. Wisniewski, 121 F.3d

54, 58 (2d Cir. 1997); a laboratory owner whose company performed “the integral final step [in

a] Medicare fraud” scheme, United States v. Huerta, 371 F.3d 88, 92 (2d Cir. 2004); and a hedge

fund manager who supervised others in an insider-trading scheme, United States v. Rajaratnam,

No. 09-cr-1184, 2012 WL 362031, at *17 (S.D.N.Y. Jan. 31, 2012). See also United States v.

Ellis, 951 F.2d 580, 584-85 & n.4 (4th Cir. 1991) (applying enhancement to a partner in a dog

track who led a fraudulent scheme to influence passage of legislation that would benefit the dog

track). Under those precedents and the plain text of the guideline, the fact that Manafort’s

companies performed some legitimate “consulting, public affairs, and public relations work,”

Doc. 317 at 34, does not foreclose application of the enhancement based on the defendant’s

directing individuals inside and outside those companies in the performance of criminal

activities.




                                                 12
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 13 of 17 PageID# 7147



       Finally, a role enhancement would apply whether the Court used the § 2S1.3 guidelines

or the tax guidelines (as would the sophisticated means enhancement).

               3. Loss for Group 2 Offenses

       The PSR correctly holds the defendant accountable for approximately $6 million in loss

for his schemes to defraud Citizens Bank, Banc of California, and the Federal Savings Bank. See

Gov’t Sent. Mem. at 15-16; PSR at ¶ 87. In arguing to the contrary, the defendant emphasizes

that the intended-loss provision in the guidelines focuses on loss that the defendant purposefully

inflicted and points out that the amount principally at issue—$5.5 million relating to the Union

Street loan sought from Citizens Bank—was secured by collateral. Doc. 317 at 31. The

government recognizes that the value of disclosed collateral is often deducted from the gross

amount of intended loss. But as the government explained in its sentencing submission, that

general rule is inapplicable when the defendant seeks to use encumbered collateral and conceals

the encumbrance from the lender. Gov’t Sent. Mem. at 16 (citing United States v. Staples, 410

F.3d 484, 490-91 (8th Cir. 2006)). Here, Manafort hid from Citizens Bank the fact that the

property to serve as collateral already had a mortgage, thus undermining its value as collateral in

the first place. The defendant claims that Citizens Bank ultimately became aware of the

“preexisting mortgage on the Union Street property” by the time he submitted his loan

application, Doc. 317 at 31, but any such awareness was attributable not to defendant’s

disclosures but to the bank’s own due diligence. The bank’s independent knowledge does not

alter the fact that the defendant pressed forward with a loan application predicated on his

provision of misleading information about the value of the collateral underlying the transaction.

He does not, in short, deserve a reduction on intended loss based on the value of the collateral.




                                                13
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 14 of 17 PageID# 7148



   F.      Claim of Sentencing Disparity

        Manafort cites a smattering of offshore tax cases from across the country to argue that a

lenient sentence is required to avoid unwarranted sentencing disparities among similarly-situated

offenders. Doc. 317 at 35-39; see 18 U.S.C. § 3553(a)(6). The cited examples, however, are

inapposite, as none involves the combination of tax, FBAR, and bank fraud offenses evident in

the jury’s guilty verdict here—much less a defendant who continued to engage in deceptive and

criminal conduct following indictment and after a guilty verdict and later guilty plea.

        The cases that Manafort references vary widely from each other and from that of this

defendant. The overwhelming majority of these cases involved guilty pleas (and thus award

reductions for acceptance of responsibility); others, including several in this district, involved

defendants who provided full cooperation and received credit for that cooperation and/or

involved significant fines that were paid at or around the time of sentencing. For example, the

defendant Horsky, sentenced by this Court, pled guilty, cooperated, and paid a fine of $100

million.

        Further, many if not most of these cases involved defendants who parked money overseas

but were not actively involved in managing or using the accounts, and certainly were not using

the accounts to commit additional crimes. At the time, under certain limited circumstances not

relevant to Manafort, the government offered immunity from prosecution to individuals who

disclosed their overseas accounts; it prosecuted others who failed to disclose their accounts (one

of the cited defendants for example applied for the program but his name was disclosed to the

government by a financial institution prior to the filing of his application and he was prosecuted

accordingly). One defendant, Mary Estelle Curran, was charged with hiding $47 million in a

Swiss bank account which held money that she inherited from her husband when he died (and



                                                 14
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 15 of 17 PageID# 7149



which he had previously inherited). She paid more than $20 million in penalties as part of the

settlement in her case. Still others pled guilty prior to being charged or indicted, demonstrating

an extraordinary acceptance of responsibility. Another cited case involved a defendant who

voluntarily returned to the United States to be subject to prosecution.

       These facts are far afield from this case. Manafort’s conduct was markedly different—

involving more than thirty foreign accounts in three countries that housed more than $55 million,

which he managed and accessed routinely. And Manafort was hiding not just his assets to avoid

taxes, but also used millions of dollars to promote his FARA crimes. 5 He neither pled promptly

nor provided complete and honest cooperation. He also has not paid back any of the taxes

owed—a factor featured in most of the cases cited. Accordingly, these cases provide little

guidance and no reason not to impose a sentence commensurate with his criminal conduct.

                                            Conclusion
       The government is available to address any of the defendant’s additional arguments at

sentencing.




       5
         Manafort’s criminal activity involving his violation of FARA is detailed in the Statement
of Facts and Other Offense attached to his plea agreement in the District of Columbia. See D.C.
Plea Agreement; D.C. Statement of the Offenses and Other Acts ¶¶ 1-35. The government does
not raise this point to seek a sentencing enhancement, but to rebut the defendant’s claim that he
sought only to promote democratic principles here and abroad. See Doc. 317 at 15. Further, the
defendant calls attention to his work for four U.S. Presidents, but fails to acknowledge that at least
with respect to his more recent role in the 2016 election, he actively tried to use his position to
secure substantial loans from The Federal Savings Bank.
                                                 15
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 16 of 17 PageID# 7150
Case 1:18-cr-00083-TSE Document 319 Filed 03/05/19 Page 17 of 17 PageID# 7151



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of March, 2019, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:


Thomas E. Zehnle (VA Bar No. 27755)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
tezehnle@gmail.com

Jay R. Nanavati (VA Bar No. 44391)
Kostelanetz & Fink LLP
601 New Jersey Avenue, N.W., Suite 620
Washington, D.C. 20001
jnanavati@kflaw.com




                                                      /s/ Uzo Asonye
                                                      Assistant United States Attorney
                                                      U.S. Attorney’s Office
                                                      Eastern District of Virginia
                                                      2100 Jamieson Avenue
                                                      Alexandria, VA 22314
                                                      uzo.asonye@usdoj.gov
                                                      Phone: (703) 299-3700
                                                      Fax: (703) 299-3981
                                                      Attorney for the United States of America
